Case: 1:13-cv-09116 Document #: 49-4 Filed: 05/09/14 Page 1 of 5 PageID #:564




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Case: 1:13-cv-09116 Document #: 49-4 Filed: 05/09/14 Page 2 of 5 PageID #:565




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   Case: 1:13-cv-09116 Document #: 49-4 Filed: 05/09/14 Page 3 of 5 PageID #:566




Zimmerman Reed is a nationally recognized leader in complex and class action litigation and has
been appointed as lead counsel in some of the largest and most complex cases in federal and state
courts across the country.     The firm was founded in 1983 and has successfully represented
thousands of consumers and injured individuals nationwide in significant and demanding cases.
The firmʹs practice includes a wide range of legal issues and complex cases involving consumer
fraud, ERISA, shareholder actions, environmental torts, pharmaceutical drugs, dangerous or
defective products, human rights violations, and privacy litigation. For the past five consecutive
years, Zimmerman Reed has been recognized as a first‐tier “Best Law Firm” by U.S. News & World
Report’s rankings of top law firms in the country.

Zimmerman Reed has been appointed Lead or Liaison Counsel in the following MDLs:

      In re Mortgage Escrow Deposit Litigation, MDL 899
      In re Temporomandibular Joint (TMJ) Implants Products Liability Litigation, MDL 1001
      In re St. Jude Medical, Inc. Silzone Heart Valves Products Liability Litigation, MDL 1396
      In re Baycol Products Liability Litigation, MDL 1431
      In re Medco Health Solutions, Inc., Pharmacy Benefits Management Litigation, MDL 1508
      In re Guidant Corp. Implantable Defibrillators Products Liability Litigation, MDL 1708
      In re Viagra Products Liability Litigation, MDL 1724
      In re Medtronic Implantable Defibrillators Products Liability Litigation, MDL 1726
      In re Medtronic, Inc. Sprint Fidelis Leads Products Liability Litigation, MDL 1905
      In re Levaquin Products Liability Litigation, MDL 1943
      In re Zurn Pex Plumbing Products Liability Litigation, MDL 1958
      In re Northstar Education Finance, Inc. Contract Litigation, MDL 1990
      In re Zicam Cold Remedy Marketing, Sales Practices, and Products Liability Litigation, MDL 2096
      In re National Arbitration Forum Trade Practices Litigation, MDL 2122
      In re Stryker Rejuvenate and ABG II Hip Implant Products Liability Litigation, MDL 2441

Zimmerman Reed has been appointed to the Plaintiffs’ Steering Committee or sub‐committees in
the following MDLs:

      In re Silicone Gel Breast Implant Products Liability Litigation, MDL 926
      In re Orthopedic Bone Screw Products Liability Litigation, MDL 1014
      In re Norplant Contraceptive Products Liability Litigation, MDL 1038
      In re Telectronics Pacing Systems, Inc. Accufix Atrial ʺJʺ Lead Products Liability Litigation, MDL
       1057
      In re Diet Drugs Products Liability Litigation , MDL 1203
      In re Rezulin Products Liability Litigation, MDL 1348
      In re Propulsid Products Liability Litigation, MDL 1355
      In re Sulzer Inter‐Op Orthopedic Hip Implant Litigation, MDL 1401
      In re Serzone Products Liability Litigation, MDL 1477
      In re Meridia Products Liability Litigation, MDL 1481
      In re Welding Rods Products Liability Litigation, MDL 1535
      In re Zyprexa Products Liability Litigation, MDL 1596
   Case: 1:13-cv-09116 Document #: 49-4 Filed: 05/09/14 Page 4 of 5 PageID #:567




      In re Neurontin “Off‐Label” Marketing Litigation, MDL 1629
      In re Vioxx Products Liability Litigation, MDL 1657
      In re Bextra and Celebrex Marketing Sales Practices and Product Liability Litigation, MDL 1699
      In re Fedex Ground Package System, Inc., Employment Practices Litigation, MDL 1700
      In re Celebrex and Bextra Products Liability Litigation, MDL 1694
      In re Digitek Products Liability Litigation, MDL 1968
      In re Apple iPhone “MMS” Sales Practices Litigation, MDL 2116
      In re DePuy Orthopaedics, Inc., ASR Hip Implant Products Liability Litigation, MDL 2197
      In re Uponor, Inc., F1807 Plumbing Fittings Products Liability Litigation, MDL 2247
      In re Zimmer NexGen Knee Implant Products Liability Litigation, MDL 2272
      In re Building Materials Corp. of America Asphalt Roofing Shingle Products Litigation, MDL 2283
      In re National Football League Players’ Concussion Injury Litigation, MDL 2323
      In re Biomet M2A Magnum Hip Implant Products Liability Litigation, MDL 2391

Representative cases in which Zimmerman Reed has served as Class or Lead Counsel:

      Adams, et al. v. DPC Enterprises, LP, et al., Jefferson County Circuit Court, State of Missouri
      Adepipe, et al. v. U.S. Bank, Nat’l Ass’n, et al., United States District Court, District of
       Minnesota
      AI Plus, Inc. and IOC Distribution, Inc. v. Petters Group Worldwide, et al., United States District
       Court, District of Minnesota
      Atkinson v. Morgan Keegan & Co., United States District Court, Western District of Tennessee
      City of Farmington Hills Employees Retirement System v. Wells Fargo Bank, N.A., United States
       District Court, District of Minnesota
      City of Tallahassee Pension Plan v. Insight Enterprises, Inc., et al., Superior Court of Maricopa
       County, State of Arizona
      Cooksey v. Hawkins Chemical Company, Hennepin County District Court File No. 95‐3603
      Cuff, et al. v. Brenntag North America, Inc., et al. United States District Court, Northern District
       of Georgia Atlanta Division
      Daud, et al. v. Gold’n Plump Poultry, Inc., United States District Court, District of Minnesota
      DeKeyser, et al. v. ThyssenKrupp Waupaca, Inc., United States District Court, Eastern District of
       Wisconsin
      Doe v. Cin‐Lan, Inc., et al., United States District Court, Eastern District of Michigan
      DeGrise, et al. v. Ensign Group, Inc., et al., Superior Court of Sonoma County, State of
       California
      DeLillo, et al. v. NCS Pearson, et al., United States District Court, District of Minnesota
      In Re: Dockers Roundtrip Airfare Promotion Sales Practices Litigation, United States District
       Court, Central District of California
      Dryer v. National Football League, United States District Court, District of Minnesota
      Fastrip, Inc., et al. v. CSX Corporation, United States District Court, Western District of
       Kentucky
      Frank, et al. v. Gold‘n Plump Poultry, Inc., United States District Court, District of Minnesota
      Gaither v. Computer Network Technology Corporation, et al., Fourth Judicial District, State of
       Minnesota
      Garner, et al v. Butterball, LLC, United States District Court, Eastern District of Arkansas
Case: 1:13-cv-09116 Document #: 49-4 Filed: 05/09/14 Page 5 of 5 PageID #:568




   Haritos, et al. v. American Express Financial Advisors, United States District Court, District of
    Arizona
   Helmert, et al. v Butterball, LLC, United States District Court, Eastern District of Arkansas
   In re Avandia Pharmaceutical Litigation, United States District Court, District of Arizona
   In re Castano Tobacco Litigation, United States District Court, Eastern District of Louisiana
   In re Consolidated Zicam Product Liability Cases, Superior Court of Arizona, Maricopa County
   In re Dry Max Pampers Litigation, United States District Court, Southern District of Ohio
   In re Soo Line Railroad Company Derailment of January 18, 2002 in Minot, N.D., Fourth Judicial
    District, State of Minnesota
   In re Region Morgan Keegan Securities, Derivative and ERISA Litigation [Landers v. Morgan Asset
    Management], United States District Court, Western District of Tennessee
   Kurvers, et al. v. National Computer Systems, Inc., Fourth Judicial District, State of Minnesota
   Larkin et al. v. CPI Corp, et al., United States District Court, Western District of Wisconsin
   Martin, et al. v. BioLab, Inc., et al., United States District Court, Northern District of Georgia
    Atlanta Division
   McGruder, et al. v. DPC Enterprises, LP, et al., Maricopa County Superior Court, State of
    Arizona
   Mehl, et al. v. Canadian Pacific Railway, et al., United States District Court, District of North
    Dakota
   Milner, et al. v. Farmers Insurance Exchange, United States District Court, District of Minnesota
   Mississippi v. Boston Scientific, United States District Court, District of Massachusetts
   Ponce, et al. v. Pima County, et al., Maricopa County Superior Court, State of Arizona
   Russo, et al. v. NCS Pearson, Inc., et al., United States District Court, District of Minnesota
   Sanders, et al. v. Norfolk Southern Corporation, et al., United States District Court, District of
    South Carolina
   Scott v. American Tobacco Co., Inc., et al., Court File No.: 96‐8461, Civil District Court for the
    Parish of New Orleans, Louisiana
   State of Mississippi v. AU Optronics Corp., United States District Court, Southern District of
    Mississippi
   Trauth v. Spearmint Rhino Companies Worldwide, Inc., et al., United States District Court,
    Central District of California
   Weincke, et al. v. Metropolitan Airports Commission, Fourth Judicial District, State of Minnesota
